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                                   EXHIBIT 1

                                 Proposed Budget




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Off Lease Only, LLC ("OLO" or the "Company")
Cash Collateral Budget1
USD ($ 000s)
                                                                Week 0                      Week 1                       Week 2                       Week 3
               Cash Collateral Budget                         07‐08 Sep‐23                 15‐Sep‐23                    22‐Sep‐23                    29‐Sep‐23                       Total
               Company Status >>                              Post‐Petition               Post‐Petition                Post‐Petition                Post‐Petition                Post‐Petition
               USD ($ 000s)                                     Forecast                    Forecast                     Forecast                     Forecast                     Forecast

               Receipts
               Financed Vehicle Sales Receipts          $                      796    $                   1,713    $                      ‐     $                      ‐     $                   2,509
               Non‐Financed Vehicle Sales Receipts      $                      199    $                     459    $                    321     $                     28     $                   1,007
               Net Proceeds from Sale of FF&E           $                        ‐    $                       ‐    $                      ‐     $                      ‐     $                       ‐
               Total Receipts                           $                      995    $                   2,172    $                    321     $                     28     $                   3,516

               Disbursements
               Product Remittances                      $                         ‐   $                    (469)   $                    (201)   $                       ‐    $                    (670)
               Vehicle Tag and Title                    $                         ‐   $                    (483)   $                    (207)   $                       ‐    $                    (690)
               Lien Payoffs                             $                         ‐   $                    (420)   $                    (180)   $                       ‐    $                    (600)
               Customer Deposits                        $                         ‐   $                    (200)   $                    (150)   $                       ‐    $                    (350)
               Payroll and Benefits                     $                         ‐   $                    (250)   $                       ‐    $                       ‐    $                    (250)
               Transition Team Costs                    $                         ‐   $                       ‐    $                     (70)   $                     (62)   $                    (132)
               Rent Payments2                           $                         ‐   $                    (937)   $                       ‐    $                       ‐    $                    (937)
               Insurance Payments                       $                         ‐   $                       ‐    $                       ‐    $                       ‐    $                       ‐
               Tax Payments                             $                         ‐   $                       ‐    $                    (508)   $                       ‐    $                    (508)
               Other, SG&A                              $                         ‐   $                       ‐    $                     (80)   $                     (12)   $                     (92)
               Contingency Fees                         $                         ‐   $                     (70)   $                     (70)   $                     (70)   $                    (210)
               Total Disbursements                      $                         ‐   $               (2,829) $                    (1,466) $                         (144)   $               (4,439)

               Restructuring Costs
               Professional Fees3                       $                         ‐   $                       ‐    $                       ‐    $                    (900)   $                    (900)
               US Trustee Fees                          $                         ‐   $                       ‐    $                       ‐    $                       ‐    $                       ‐
               Critical Vendors                         $                         ‐   $                       ‐    $                    (215)   $                       ‐    $                    (215)
               Utility Deposits                         $                         ‐   $                     (64)   $                       ‐    $                       ‐    $                     (64)
               Independent Director Fees                $                         ‐   $                       ‐    $                       ‐    $                       ‐    $                       ‐
               Restructuring Disbursements              $                         ‐   $                     (64) $                      (215) $                      (900)   $               (1,179)
               Net Cash Change                          $                      995    $                    (721) $                 (1,360) $                    (1,016)      $               (2,102)


               Beginning Cash Balance                   $                     8,810   $                   9,805    $                   9,084    $                   7,724    $                   8,810
               Ending Cash Balance                      $                     9,805   $                   9,084    $                   7,724    $                   6,708    $                   6,708

               Foonotes:
               1. This proposed budget is a modified form of the budget developed by FTI Consulting and Off Lease Only, LLC, as filed with the Cash Collateral Motion. This proposed budget
               has been modified to be a 3‐week budget and with respect to Rent Payments and Professional Fees, as detailed.
               2. Rent Payments have been adjusted to be pro rated for 24/30 days in September, as based on the Debtors' Petition Date.
               3. Professional Fees have been adjusted to be reflected in Weeek 3 for illustrative purposes. The aggregate amount shown reflects a budget of for $750,000 for the Debtors'
               and Committee's Professionals and $150,000 for the Ally Parties' Professionals.
